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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MARCUS INGRAM,                             )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )      CIVIL ACTION FILE
                                           )      NO.: 1:19-cv-5339-JPB
GARDEN FRESH RESTAURANTS                   )
(DE), LLC,                                 )
                                           )
      Defendant.                           )
                                           )


                           NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that all claims pending in this matter have been

resolved to the satisfaction of all parties. The Parties hereby respectfully request

that this Court allow thirty (30) days within which to complete the settlement, during

which time the Parties request that the Court retain jurisdiction over this matter until

fully resolved. Should the Parties not move to reinstate the case or seek other Court

intervention in the next thirty (30) days, the Parties request the Court dismiss this

case with prejudice at that time.
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      Respectfully submitted this 14th day of February, 2020.

/s/ Pete M. Monismith                        /s/ Myra K. Creighton
Pete M. Monismith                            Myra K. Creighton
Georgia Bar No. 941228                       Georgia Bar No. 195660
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Counsel for Plaintiff                        Counsel for Defendant




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MARCUS INGRAM,                         )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )      CIVIL ACTION FILE
                                       )      NO.: 1:19-cv-5339-JPB
GARDEN FRESH RESTAURANTS               )
(DE), LLC,                             )
                                       )
      Defendant.                       )
                                       )

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 14th day of February, 2020, I filed the

foregoing NOTICE OF SETTLEMENT with the Clerk of Court through the

Court’s CM/ECF system, which served a copy to counsel of record, as follows:

                         Pete M. Monismith
                         Pete M. Monismith, PC
                         3945 Forbes Avenue, Suite 175
                         Pittsburgh, PA 15213
                         pete@monismithlaw.com


                                            /s/ Myra K. Creighton
                                            Myra K. Creighton
                                            Georgia Bar No. 195660
                                            mcreighton@fisherphillips.com




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